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           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           19      CERCACOR LABORATORIES, INC.,                  APPLE’S REPLY IN SUPPORT OF
                   a Delaware corporation,                       ITS SUPPLEMENTAL RULE 50(B)
           20                                                    MOTION OF NO UNJUST
                                      Plaintiffs,                ENRICHMENT
           21
                         v.
           22
                   APPLE INC.,
           23      a California corporation,
           24                         Defendant.
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                    APPLE’S REPLY ISO SUPPLEMENTAL RULE 50(B) MOTION OF NO UNJUST ENRICHMENT
Wilmer Cutler
                                                                         CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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                                                                         CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1           While Plaintiffs’ opposition mostly repeats arguments addressed in Apple’s
             2     opening brief, Plaintiffs also rely on new exhibits and a new legal theory of unjust
             3     enrichment never presented to the jury. Plaintiffs waived the right to raise these new
             4     points by failing to include them in their FRCP 50(a) briefing. See E.E.O.C. v. Go
             5     Daddy Software, Inc., 581 F.3d 951, 961 (9th Cir. 2009). Regardless, Apple files this
             6     short reply to explain why Plaintiffs’ new arguments are wrong.
             7           First, Plaintiffs now assert they can meet their burden to establish Apple’s
             8     purported misappropriation was a substantial factor by showing Apple hired Dr.
             9     Lamego with the purpose of misappropriating Plaintiffs’ trade secrets. Opp. 1. But
           10      Plaintiffs’ lone authority deals with a standalone claim for unjust enrichment (not a
           11      trade secret claim) under Massachusetts (not California) law. Mass. Eye & Ear
           12      Infirmary v. QLT Phototherapeutics, Inc., 552 F.3d 47, 58-61 (1st Cir. 2009). The
           13      QLT district court granted the defendants JMOL on a “related trade secrets claim”
           14      based on the same underlying facts, id. at 61-62, and no California court has ever
           15      applied QLT to California law. In any event, Plaintiffs’ closing statement disclaimed
           16      the argument that Apple had knowingly misappropriated Plaintiffs’ purported secrets.
           17      4/26 PM Tr. 76:23-77:4.
           18            Second, Plaintiffs contend they can rely on pre-November 2014 evidence to
           19      connect the Blood Oxygen feature to their purported secrets because—despite the
           20      unrebutted testimony of Apple’s engineers—Apple purportedly began work on Blood
           21      Oxygen in 2012. Opp. 1-2, 6. But the document they rely upon for the 2012 date is a
           22      “proposal” which mentions pulse oximetry as one of many features being considered
           23      for Watch. JTX-431 at -722. Even Plaintiffs’ opening statement asserted that JTX-
           24      431 showed Apple’s aspirational “goals” in “a field they know absolutely nothing
           25      about.” 4/5 AM Tr. 35:9-14. Plaintiffs also cite two documents authored by Dr.
           26      Lamego in 2014, but one does not mention pulse oximetry or blood oxygen at all, see
           27      JTX-143, and the other refers to pulse oximetry as one of six “possible …
           28      functionalities” in a future Watch design, see JTX-297 at -775. No evidence suggests

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             1     Apple started work on the Blood Oxygen feature in 2012; to the contrary, unrebutted
             2     testimony confirms it did not begin until late 2014. 4/18 PM Tr. [Land] 70:24-71:1.
             3           Third, Plaintiffs accuse Apple of misrepresenting the record on whether Apple
             4     has one or two different demodulation algorithms. Opp. 7-8. Apple has one
             5     algorithm, which unrebutted testimony establishes was “fully developed” in 2013.
             6     Mot. 4. Because the full name for Apple’s technique is “two-sided dark channel
             7     subtraction,” a single internal email abbreviates Apple’s approach using a “2”—i.e.,
             8     “DCS2.” JTX-4199 at -193. That same email confirms that this abbreviation is not
             9     Dr. Lamego’s suggested approach, nor derived from it. Id. (email to Dr. Lamego
           10      noting that because Apple’s dark channel subtraction approach was adequate, “we
           11      don’t need to continue down the mod/demod path”); see also 4/19 AM Tr. [Waydo]
           12      126-127 (discussing JTX-4199).
           13            Finally, Plaintiffs argue their purported secrets “substantially contributed” to
           14      Blood Oxygen. Opp. 2, 4, 6. But they do not dispute that (1) they must do more than
           15      show “circumstances [that] are consistent” with their theory of unjust enrichment and
           16      (2) a reasonable jury would have to find that each purported secret was “singled out …
           17      as a key element” of Blood Oxygen in order for that supposed secret to qualify as
           18      substantial factor. Mot. 3, 7-8 (collecting case law). Plaintiffs do not even attempt to
           19      show that D1, D3, D10, or L5 were singled out by Apple as particularly vital to Blood
           20      Oxygen. Their only evidence regarding L4’s importance is the same single slide from
           21      a single 2018 presentation, Opp. 4 (citing JTX-1078 at -632), but Plaintiffs identify
           22      nothing suggesting that Apple viewed that one tiny aspect of Blood Oxygen as
           23      particularly important. “Put another way, no juror could reasonably conclude that
           24      [Blood Oxygen] would have [been ineffective] had the” black foam test not been used.
           25      Premier Displays & Exhibits v. Cogswell, 2009 WL 8623588, at *11 (C.D. Cal. Dec.
           26      23, 2009). That is particularly so given that their own damages expert admitted that
           27      his testimony did “not address[] the issue of causation at all.” 4/13 AM Tr. 120:21-
           28      121:5, 121:21-25.

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             1     Dated: September 7, 2023              Respectfully submitted,
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             1                            CERTIFICATE OF COMPLIANCE
             2           The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3     brief contains 1113 words, which [choose one]:
             4            X    complies with the word limit of L.R. 11-6.1
             5                 complies with the page limit set by court order dated TBD.
             6
             7     Dated: September 7, 2023              Respectfully submitted,

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